AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

The Dragonwood Conservancy, Inc., et al.

 

Plaintiff

Paul Felician, et al.

 

)
)
v. ) Case No. 16-CV-534
)
)

Defendant

APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

The Dragonwood Conservancy, Inc., et al.

Date: _ October 15, 2020

Z-_£—

 

 

/ Attorney's signature

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